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Attorneys for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                  ) No. 3:19-cr-00114-JMK-MMS
                                             )
                          Plaintiff,         )
                                             )
          vs.                                )
                                             )
  REY JOEL SOTO-LOPEZ,                       )
                                             )
                          Defendant.         )
                                             )

  ERRATA TO UNITED STATES’ RESPONSE OPPOSING SECOND MOTION
                        TO SUPPRESS

       In the United States’ response opposing defendant Rey Soto-Lopez’s second

motion to suppress, the undersigned did not describe Trooper Howard’s relevant in-car

video as showing the Trooper looking in the backseat area of Soto-Lopez’s vehicle. ECF

No. 88, pp. 3-4. After reviewing the in-car video again, the undersigned noticed that it

shows Trooper Howard opening the rear passenger-side door and looking inside the rear

portion of the passenger compartment from 17:27 to 17:37 and again from 18:20 to 18:48



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(during the second period, Trooper Howard is also talking on his radio). Both of these

periods occur during the initial search of Soto-Lopez’s vehicle, before Trooper Howard

first returned to his vehicle.

       These facts do not affect the United States’ legal analysis.

       RESPECTFULLY SUBMITTED January 11, 2021, in Anchorage, Alaska.

                                                  BRYAN SCHRODER
                                                  United States Attorney

                                                  s/ Allison M. O’Leary
                                                  ALLISON M. O’LEARY
                                                  Assistant U.S. Attorney
                                                  United States of America


CERTIFICATE OF SERVICE

I hereby certify that on January 11, 2021, a true and correct copy of the foregoing was
served electronically on the following:

Gary Colbath

s/ Allison M. O’Leary
Office of the U.S. Attorney




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